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                       WESTERN DISTRICT OF LOUISIANA
                           SHREVEPORT DIVISION

 MAGNOLIA ISLAND PLANTATION        §       CIVIL ACTION NO: 5:18-cv-01526
 L.L.C. and BARBARA MARIE CAREY    §
 LOLLAR                            §
              Plaintiffs           §
                                   §
 VS                                §       CHIEF JUDGE S. MAURICE HICKS, JR.
                                   §
 LUCKY FAMILY, L.L.C., W.A. LUCKY, §
 III, and BOSSIER PARISH SHERIFF   §
 JULIAN C. WHITTINGTON             §
                                   §       MAGISTRATE JUDGE KAREN HAYES
               Defendants          §       Jury Trial Demanded



     CORRECTIVE DOCUMENT (SUPPLEMENTAL REPLY MEMORANDUM IN
                   SUPPORT OF BARBARA LOLLAR’S
              MOTION FOR PARTIAL SUMMARY JUDGMENT)



                                    RESPECTFULLY SUBMITTED by:


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                                       I. INTRODUCTION

        W.A. Lucky III’s Memorandum in Opposition to Barbara Marie Carey Lollar’s Partial

 Motion for Summary Judgment (the “Lucky Opposition”)1 does not establish any genuine dispute

 as to the material fact claims in Mrs. Lollar’s motion for partial summary judgment (the “Lollar

 Motion”).2 The Lollar Motion delineated two separate grounds for summary judgment: first, that

 the sheriff’s sale at issue in this case was not executed in accordance with statutory requirements,

 requiring an annulment of the sale,3 and, second, that Mrs. Lollar is entitled to restitution of the

 promissory note (the “Note”) seized under the now-reversed judgment in Lucky I.4 On the first

 point, the Lucky Opposition fails to point to any evidence that the Sheriff appointed a third

 appraiser, as he was required to do by law. On the second point, both sides agree that the Note was

 seized under a judgment that was soon reversed by a unanimous appellate panel in Lucky v. Carr,

 264 So.3d 693 (La. App. 2 Cir. 2019). This Court is therefore faced with a legal question: does

 Louisiana law require restitution of a promissory note when the judgment under which it was

 seized is reversed on devolutive appeal? For the reasons set forth in Section III, below, the answer

 is yes. Summary judgment in Mrs. Lollar’s favor is appropriate on either issue.


                                        II. ANNULMENT

 A. Louisiana Law Allows for Annulment

        Like all other sales, judicial sales may be set aside for fraud and may be declared null in

 cases of nullity. La. R.S. 9:3169; Progressive Bank & Tr. Co. v. Vernon A. Guidry Contractors,



 1
   Rec. Doc. 102
 2
   The supporting memorandum for the Lollar Motion is the “Lollar Memorandum.”
 3
   Rec. Doc. 80, p. 2-3
 4
   Rec. Doc. 80, p.3-4
                                                                                                   1
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 Inc., 504 So. 2d 997, 999 (La. App. 1 Cir. 1987). Louisiana courts have annulled sheriff’s sales.

 Id.; Causeway Mortg. Co. v. Howard, 247 So. 2d 277, 279 (La. App. 4 Cir. 1971). A sheriff’s sale

 can be annulled in cases where there is an improper appraisal, or a complete lack of appraisal.

 Tucker v. New Orleans Laundries, Inc., 145 So. 2d 365, 372 (La. App. 4 Cir. 1962); Jones v.

 Alford, 172 So. 213; Stockton v. Stanbrough, 3 La. Ann. 390, 390–91 (1848); Phoenix Bldg. &

 Homestead Ass'n v. Meraux, 189 La. 819, 824 (La. 1938). The Tucker court was faced with a claim

 for nullity of a sheriff’s sale due to a lack of appraisal. The court recognized that nullity was the

 appropriate remedy for a failure to appraise but ruled that the plaintiff’s claim had prescribed,

 stating: “An improper, or in fact, a complete lack of an appraisal of the property creates a

 …relative nullity [cured by prescription].” Tucker, supra, at 372. Relatedly, sheriff’s sales can be

 annulled for fraud or ill practices. Ellerd v. Williams, 364 So. 2d 648, 650 (La. App. 2 Cir. 1978).

 Lastly, sheriff’s sales can be annulled when any act of an auctioneer or third party stifles or chills

 the sale. Swain v. Kirkpatrick Lumber Co., 143 La. 30, 38, 78 So. 140, 143 (La. 1918). The Lucky

 Opposition is thus mistaken in claiming that Louisiana law does not allow for an annulment of a

 sheriff’s sale. That remedy is available to Mrs. Lollar.

          Mr. Lucky misunderstands the citations to Baumann v. Fields, 332 So. 2d 885, 887 (La.

 App. 2 Cir. 1976) and Assocs. Commercial Corp. v. Vick's Sand Pit & Dredging Co., 522 So. 2d

 663, 664–65 (La. App. 5 Cir.), writ denied, 525 So. 2d 1056 (La. 1988).5 Both were referenced in

 the Lollar Memorandum only as support for the claim that “property sold at a judicial sale under a

 writ of fieri facias must be appraised according to law prior to the sale.” Both cases do support that

 proposition. The Lucky Opposition is also mistaken in implying that Mrs. Lollar’s allegations in

 this suit are analogous to the claims in the Vick’s case. The defendant in that suit pursued injunctive



 5
     Rec. Doc. 102, p. 7-9.
                                                                                                      2
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 relief on the grounds that the appraisal was “shockingly low.” In contrast, Mrs. Lollar is not

 seeking injunctive relief, nor is her argument primarily based on the specific amount of a valid

 appraisal. Instead, the claims are: (1) that there was no authorized third appraisal, and thus no

 appraisal, as referenced in the Tucker v. New Orleans Laundries, Inc., matter; (2) that the sale

 process was tainted by fraud and ill practices, as referenced in the Ellerd v. Williams matter, and

 (3) that the conduct of the Sheriff and the Luckys impermissibly chilled the sale, as referenced in

 the Swain v. Kirkpatrick Lumber Co matter. Though the facts support all three grounds, the focus

 of the Lollar Memorandum is the lack of an appraisal.

 B. The Sheriff Did Not Appoint a Third Appraiser6

        Mr. Lucky has not presented any evidence that the Sheriff appointed Mr. LaCour as a third

 appraiser; none of the documents he relies on for support even bear on that claim. These documents

 are addressed under eight bullet-pointed arguments.7 The first is that the “Sheriff made the

 appointment after consulting with his independent legal counsel, Mr. Sutherland,” putatively

 supported by the depositions of David Lee Miller and Jean Horne. Using “the sheriff made the

 appointment” as a premise supporting the argument that the “sheriff made the appointment” is

 circular reasoning. Further, the fact that the Sheriff’s office sought legal guidance on some aspects

 of the appraisal process does not indicate that the legal guidance was directed to how to appoint a

 third appraiser, or, more importantly, on whether such guidance was followed.             The cited

 deposition excerpts imply only that Mr. Sutherland advised the Sheriff’s office to reach out to Mr.




 6
   The Lucky Opposition points out that La. R.S. 13:4365 is not contained within the Deficiency
 Judgment Act, correcting a mistake in the Lollar Memorandum. Rec. Doc. 102, p.9. However,
 nothing flows from this, as it is undisputed that La.R.S. 13:4365 governs the appraisal process.
 7
   Rec. Doc. 102, p. 2-3 (eight-point list under “The Sheriff appointed the third appraiser.”)
                                                                                                    3
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 Shelton for a recommendation on a third appraiser. This advice has no bearing on who would

 appoint such an appraiser, or how such an appointment would be made.

        The second bullet point is “the Sheriff’s personnel knew that they were free to reject any

 appraiser recommendation made by Mr. Shelton.” Knowledge that the Sheriff had the ability to

 appoint someone other than Mr. Shelton’s recommendation is irrelevant to the question of whether

 the Sheriff actually appointed anyone.

        The presence of a line in the Appraisement Sheet that the undersigned “having been

 appointed” does not show that the appointment occurred. The Appraisement Sheet is a document

 signed after an appraiser has performed his valuation. Mr. LaCour’s letter of October 22, 2018

 thanking the Sheriff for “this opportunity to serve you” was likewise written after Mr. LaCour

 performed his valuation and on the same date he signed the appraisal sheet – it does not suggest

 that the Sheriff took any action constitutive of an appointment prior to that day. Further, Mr.

 LaCour’s beliefs about who he was serving are irrelevant to whether the Sheriff actually appointed

 him.

        The Sheriff’s Ex Parte Motion to Fix Appraiser’s Fee of October 19, 2018, noting that the

 Sheriff will appoint a third appraiser, does not demonstrate that the Sheriff did appoint one. In fact,

 this only indicates that the Sheriff had not yet appointed an appraiser. Similarly, the Bossier Court’s

 order on that motion, directing the Sheriff to pay $225.00 an hour to “any appraiser appointed by

 the Sheriff” indicates that no appraiser had yet been selected.

        The seventh and eighth bullet points both involve Mr. LaCour’s invoice to the Sheriff for

 his valuation. The fact that the Sheriff paid Mr. LaCour after the appraisal does not support the

 claim that the Sheriff appointed Mr. LaCour before the appraisal. It is consistent with Mrs. Lollar’s

 claim that the Sheriff simply accepted Mr. Shelton’s designation after-the-fact.



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        Mr. Lucky’s discussion of the limited communications between Mr. LaCour and the

 Sheriff’s office is likewise unavailing.8 No party has claimed that the Sheriff’s office informed Mr.

 LaCour in any pre-appraisal communication that he had been appointed as a third appraiser, and

 there is no evidence to that effect. If anything, the upshot of these limited communications appears

 to be that Mr. LaCour already believed he was the third appraiser when he spoke with the Sheriff’s

 office for the first time, on October 19, 2018.9 This belief could only have arisen from

 communications with Mr. Lucky’s counsel.

        Mr. Lucky is unable to point to any factual event constituting an appointment of Mr.

 LaCour by the Sheriff. In fact, Mr. Lucky does not even attempt to do so. The evidence suggests

 that, to the contrary, the only action the Sheriff took on the matter prior to October 22, 2018 was

 requesting a recommendation from Mr. Shelton. That request came before the appointment of a

 third appraiser was even allowed. The Lollar Motion asserted that there is no genuine factual

 dispute that the Sheriff failed to appoint a third appraiser. It properly supported that position by

 showing that the Defendants cannot produce admissible evidence to the contrary - that there is no

 evidence indicating that the Sheriff actually appointed a third appraiser, rather than acceding after

 the fact to a selection made by the creditor. FRCP 56(c)(1)(B). When a nonmovant is faced with a

 motion for summary judgment “made and supported” as provided by Rule 56, the nonmovant

 cannot survive the motion by resting on the mere allegations of its pleadings. FRCP 56; Isquith for

 & on Behalf of Isquith v. Middle S. Utilities, Inc., 847 F.2d 186, 199 (5th Cir. 1988). Instead, the




 8
   Rec. Doc. 102, p.3-4
 9
   The Lucky Opposition implies that the Sheriff’s office provided the Appraisement Sheet to Mr.
 LaCour. But while the cited deposition excerpts show that Mr. LaCour believed that to be the case,
 he was unable to provide any evidence of it. Discovery in this matter has not revealed any
 transmission of that form to Mr. LaCour from the Sheriff’s office; instead, the only email
 containing the form came from Mr. Shelton. Rec. Doc. 84-12 (PageID 2183 and 2190).
                                                                                                    5
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 nonmovant must point to specific evidence, of the sort listed in Rule 56(c)(1)(a), demonstrating

 the existence of a genuine dispute of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 324,

 (1986). Since none of the evidence cited by Mr. Lucky bears on the assertion that the Sheriff

 actually appointed a third appraiser – and, instead, suggests merely that the Sheriff acquiesced to

 Mr. Lucky’s designation after the appraisal – he has failed to demonstrate the existence of a

 genuine dispute of material fact. The Court may therefore consider this fact undisputed. FRCP

 56(e).

                                        III. RESTITUTION

 A. Restitution is Permitted and Required

          The Lucky Opposition argues that Louisiana does not allow for “restitution.” It further

 argues that the Gootee decision is not based on unjust enrichment principles (under Article 2298)

 but on “payment of a thing not due” (under Article 2299). But both articles are contained within

 a Civil Code chapter entitled “enrichment without cause.” The sort of recovery available under

 Article 2299 is, indeed, distinct from that in Article 2298; both, however, are remedies based on

 “enrichment without cause.”       Black’s Law Dictionary explains “[restitution is] a body of

 substantive law in which liability is based not on tort or contract but on the defendant’s unjust

 enrichment.”10 To the extent there is some question of whether there is a distinction between

 “unjust enrichment” and “enrichment without cause,” it is a merely terminological dispute. The

 Lollar Memorandum cited to article 2299, not Article 2298, in discussing the rule of Gootee.11

          Mr. Lucky further argues that Mrs. Lollar does not have a claim for restitution because she

 allegedly has “another remedy for the impoverishment:” her abuse of process and 42 USC § 1983




 10
    Black’s Law Dictionary (11th Ed.), at “restitution.”
 11
    Rec. Doc. 80-1, p.13
                                                                                                   6
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 claims. But the remedy available under Article 2299 is not a subsidiary one; as the Comment makes

 clear, “this remedy is available even if other remedies are also available.” Civ. Code art. 2299,

 Comment.

        Further, the claims have different factual and legal bases, and also distinct remedies. The

 1983 claim is based on the Sheriff’s improper seizure, appraisal, and sale of the Note. 12 The

 Plaintiffs seek all monetary damages attributable to the Sheriff’s misconduct in this regard, as well

 as an annulment of the Sheriff’s sale.13 Similarly, the remedy Plaintiffs seek under the abuse of

 process claim is the monetary damages caused by the Lucky Defendants’ improper Lucky II and

 lis pendens filings.14 On the other hand, the restitution claim is based on the Lucky Defendants’

 unjust enrichment: they currently possess the Note only because of their short-lived judgment in

 Lucky I. The Court could find the Sheriff and the Luckys free of fault on the 1983 and abuse of

 process claims and still determine that Mrs. Lollar is entitled to restitution of the Note.

        The Lucky Opposition concedes that Mrs. Lollar is entitled to restitution of something

 under the legal principles underlying the Gootee Const. v. Amwest Sur. Ins. Co., 2003-0144 (La.

 2003) decision.15 The only remaining question is therefore whether she is entitled to restitution of

 the Note itself, or only to the amounts paid for the Note at the Sheriff’s sale. For the reasons that

 follow, the former is correct.

 B. The Luckys Cannot Circumvent Their Restitution Obligation

        Under the principles underlying the line of cases culminating in Gootee, after a reversal on

 devolutive appeal, a judgment creditor must restore to the judgment debtor everything he received




 12
    Rec. Doc. 51, p. 2, 4, and 19.
 13
    Id., p. 24
 14
    Id., p. 24-25
 15
    Rec. Doc. 102, p. 20
                                                                                                    7
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 by virtue of the reversed judgment. Both Mr. Lucky and Vickie Lucky are judgment creditors

 under Lucky I, as that judgment was community property.16 Both have benefitted by Lucky

 Family, LLC’s ostensible possession of the Note, and both bear a restitution obligation to Mrs.

 Lollar. The two cannot circumvent this obligation simply by use of a business entity. The Court

 should therefore disregard the separate existence of the company. Keller v. Haas, 202 La. 486,

 490–93, 12 So. 2d 238, 240 (La. 1943); Tealwood Props., LLC v. Succ'n of Graves, 64 So. 3d 397

 (La. App. 2nd Cir. 2011). Though the Note nominally belongs to Lucky Family, LLC, the

 obligation to restore it accrues to the parties attempting to use the entity as a screen to absolve

 themselves of responsibility. Id.

           Further, there is evidence that Lucky Family, LLC is the alter ego of Mr. Lucky and/or

 Mrs. Lucky. At worst, there is a fact dispute as to whether it is truly a separate entity. To the extent

 such a fact dispute exists, summary judgment in favor of Mr. Lucky or Lucky Family, LLC is

 inappropriate.

 C. Mrs. Lollar is Entitled to Restitution of the Note Itself

           Civil Code article 2299 is unambiguous: “A person who has received a payment or a thing

 not owed to him is bound to restore it to the person from whom he received it.”17 The Luckys, as

 judgment creditors, have been enriched by possession of a Note under a reversed judgement. The

 Note is “a thing” that has enriched the judgment creditor; under Article 2299 and the Gootee

 decision, the company is bound to restore it to Mrs. Lollar. This Court would need to ignore the

 plain text of the Civil Code to accept Mr. Lucky’s argument.




 16
      See, Rec. Doc. 80-1, p. 18-21 and Rec. Doc. 110-2, p. 16-18.
 17
      Emphasis added
                                                                                                       8
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          The Lucky Opposition glosses over the specific directive of Article 2299 by conflating the

  collective obligation of the judgment creditors to restore the Note with Mr. Lucky’s obligation to

  pay the sheriff’s sale proceeds to Mrs. Lollar after the reversal of Lucky I. By holding those funds

  after the reversal, Mr. Lucky was unjustly enriched by the amount of those proceeds. His payment

  did not restore to Mrs. Lollar the “thing” that the Luckys received (through their family company)

  at the sheriff’s sale. That thing is the Note, and the obligation to restore it arises from the undue

  possession of it. If and when this Court rules that the sheriff’s sale is a nullity, Mrs. Lollar does

  not dispute that she will no longer be entitled to the sheriff’s sale proceeds. She will be happy to

  pay those funds back at that point. But the Court has not yet declared the sale a nullity, and so Mrs.

  Lollar is at least provisionally entitled to the minor benefits that accrue to her under an effective

  sheriff’s sale.

  D. Even if the Note Itself is Not Restored, Mrs. Lollar is Entitled to Restitution of the

  Payments or Value Thereunder

          If the Note itself is not returned to her, Mrs. Lollar is entitled to restitution all payments,

  or rights to payment, under it. In addition to supporting restoration of property itself upon the

  reversal of a judgment on devolutive appeal, Gootee also supports restoration of any money

  received from the sale of property in the hands of the seizing creditor in the same scenario. Any

  money the purported judgment creditor receives as payment on a promissory note seized from the

  former judgment debtor is, by definition, money obtained through execution of judgment. The

  Luckys owe a restitution obligation for the full extent of this money. What Lucky Family LLC

  purportedly obtained through the sheriff’s sale was a negotiable instrument, which is "an

  unconditional promise or order to pay a fixed amount of money. ..." La. R.S. 10:3-104. The

  Luckys’ company therefore putatively holds the right to receive payment of over $1.7 million



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  dollars in cash, in return for the purchase price of only $105,000. The Luckys are enriched by all

  payments actually received (now or hereafter) pursuant to the Note, or by the right to receive such

  payments. They thus have an obligation to restore to Mrs. Lollar all payments paid under the Note

  and/or the right to receive those payments.18

         Alternatively, the Luckys have been enriched to the extent of the value of the Note. If the

  Court believes the value of the Note could be something other than its face value, then there is a

  genuine issue of material fact that precludes a summary judgment in favor of Mr. Lucky or Lucky

  Family, LLC.19

                                    IV. RESPONSE TO OBJECTION

         The Lucky Opposition objects to the Lollar Motion’s use of an October 29, 2018 letter

  from Mr. Shelton, claiming that this communication is barred by Federal Rule of Evidence 408.20

  But the cited portion of the letter at issue does not contain any “furnishing, promising, or offering”

  of a settlement offer. Instead, it is part of Mr. Shelton’s description of the “the current situation”

  facing both parties. The letter then transitions to section containing a settlement offer. Rule 408

  does not render entire letters inadmissible; the limitation merely bars parties from using particular

  offers – within a given letter or other communication - for the purpose of proving the validity of

  any claim at issue in the offer. The cited portion of the letter was offered for the purpose of

  establishing that Mr. Lucky was attempting to achieve a double recovery – not for the purpose of

  proving the validity of anything in Mr. Lucky’s subsequent settlement proposal.




  18
     Further, the Lucky Defendants cannot use the shelter of Holder in Due Course protections.
  Rec. Doc. 110-2, p.24-25.
  19
     Under Rec. Doc. 82, 83, or 84.
  20
     Rec. Doc. 98-2, and Rec Doc. 102, p. 1.
                                                                                                     10
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